UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MISSOURI

EASTERN DIVISION
UNITED STATES OF AMERICA, )
Plaintiff,
v. No. 4:12 CR 472 RWS
MICHAEL SMITH
Defendant. 3
ORDER FOR DISMISSAL

Pursuant to Rule 48(a) of the Federal Rules of Criminal Procedure and by leave of Court
endorsed hereon, the United States Attorney for the Eastern District of Missouri hereby

dismisses the indictment against the defendant.

 

 

 

THOMAS J. MEHAN, #28958MO
Assistant United States Attorney

Leave of Court is granted for the filing of the foregoing dismissal.

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Dated: his ay of No vember, 2013.

cc: U.S. Marshal's Service
